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Attorney for Defendants

                     IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF ALASKA

 THE ALASKA LANDMINE LLC and
 JEFFREY LANDFIELD,

               Plaintiffs,
                                                Case No.: 3:20-cv-00311-JMK
 v.

 MICHAEL J. DUNLEAVY, in his                    MOTION FOR EXTENSION OF
 official capacity as Governor of the State     TIME TO OPPOSE PLAINTIFFS’
 of Alaska; BEN STEVENS, in his official        MOTION FOR A PRELIMINARY
 capacity as Chief of Staff to the Governor     INJUNCTION
 of the State of Alaska; and JEFF
 TURNER, in his official capacity as
 Deputy Communications Director
 for the Office of the Governor of the State
 of Alaska,

               Defendants.


      Defendants move for a seven-day extension of time in which to oppose Plaintiffs’

Motion for a Preliminary Injunction given the complexity of the factual and legal subject

matter of the motion and that the fourteen-day time period allotted to respond includes




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the Christmas and New Year’s holiday weekends. Many State employees whose

assistance will be important in preparing the opposition to the motion have scheduled

time off over this holiday period including attorneys, law office staff, and individuals in

the press office. Without an extension, Defendants’ opposition will be due Wednesday,

January 6th; with the requested seven-day extension, their opposition would be due

Wednesday, January 13th.

       Plaintiffs filed the complaint in this matter on December 17th, and moved for a

preliminary injunction five days later on December 22nd. After removal, the plaintiffs re-

pleaded in this Court today. Obviously, this is just before two back-to-back holiday

weekends over a time period when many people have scheduled leave well in advance.

The motion for a preliminary injunction involves extensive allegations of fact going back

to 2017, which the State needs time to verify or rebut. The State also needs time to

prepare its own factual record regarding the administrative and practical interests and

processes of the Governor’s press office to give the Court factual context for the State’s

defenses. The motion also raises complex questions of constitutional law. The seven-day

extension is a modest request and will be important to enable Defendants to provide this

Court with well-researched briefing and a robust factual record on which to make an

informed decision.

       DATED: December 23, 2020.

                                                  CLYDE “ED” SNIFFEN, JR.
                                                  ACTING ATTORNEY GENERAL


                                                  By:    s/ Lael Harrison

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                            CERTIFICATE OF SERVICE

      I certify that on December 23, 2020, the foregoing Extension of Time was served

on the following via the CM/ECF electronic filing system.

      Matthew Singer, Schwabe, Williamson & Wyatt, P.C.
      Lee C. Baxter, Schwabe, Williamson & Wyatt, P.C.


s/ Lael Harrison
Lael A. Harrison, Assistant Attorney General




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